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                             UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
        v.                                    )         Criminal No. 14-10282-PBS-2
                                              )
JOSEPH SPAGNUOLO-KAZONIS,                     )
     Defendant.                               )

                    GOVERNMENT’S SENTENCING MEMORANDUM

       On September 3, 2015, the defendant JOSEPH SPAGNUOLO-KAZONIS (“KAZONIS”)

pled guilty to the indictment, which charged a conspiracy to possess with intent to distribute

marijuana.   Sentencing is scheduled for January 14, 2015.     The government respectfully

requests that the Court impose the following sentence:

       (a)     incarceration for a term of 18 months, which is at the low end of the advisory

               guidelines range;

       (b)     no fine;

       (c)     36 months of supervised release;

       (d)     a mandatory special assessment of $100; and

       (e)     forfeiture in the form of the proposed order of forfeiture (money judgment) and

               preliminary order of forfeiture.

I.     BACKGROUND OF THE CASE

       This case arose from an investigation by the FBI and Massachusetts State Police (“MSP”)

into criminal activity by the New England Family of La Cosa Nostra (“NELCN”).         The FBI

identified co-defendant Louis DiNunzio as a member of the NELCN and KAZONIS as an

associate of the NELCN.     PSR ¶ 8.

       Although relatively short in time (July 2013 through February 4, 2014), this conspiracy to

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import high grade marijuana from California to Massachusetts was complicated: KAZONIS and

DiNunzio traveled from California to Massachusetts on each of at least three occasions, located a

supplier, purchased a large supply of marijuana and shipped it surreptitiously by UPS to

Massachusetts, where it was recovered and distributed.           PSR ¶ 9.     This short summary does

not do justice to the steps required at each stage of the conspiracy.         For example, to ship the

marijuana, KAZONIS and DiNunzio broke the total shipment into four separate boxes, broke

those boxes into two separate shipments, went to two different UPS stores, affected two different

false personas, invented two different false addresses to receive the shipments, monitored the

marijuana as it made its way across the United States, stayed in constant touch with intended

recipients like co-defendant Woodman, and even used layers of people and counter-surveillance

before bringing the boxes to their ultimate destination, Woodman’s house.              PSR ¶¶ 19-28.

Each step in this intricate dance had one intention: to avoid detection of their illegal conspiracy.

Furthermore, they had to use a former UPS driver—codefendant Robert Fitzpatrick—to recruit

an active UPS driver to divert the boxes of marijuana.          PSR ¶ 13.

        The conspiracy succeeded.         In July 2013, they successfully brought back approximately

23 pounds of “Skywalker,” a high potency and high value strain of marijuana. PSR ¶ 11.1

According to one user, “Yusuf1980”, Skywalker is a “[v]ery potent strain of herb. Makes me

extremely medicated after two good sized rips from the bong. A very energetic high, long lasting

with some munchie stirring abilities. A keeper.”2 KAZONIS and DiNunzio paid between $2,000

and $2,500 per pound for the Skywalker and likely made, at a profit of $1,000 per pound, which




1 Also see the Chart of Marijuana Weights, attached to this memorandum as Exhibit A, which was supplied to
Probation and the defense with the government’s statement of offense conduct.
2 http://www.theweedblog.com/skywalker-marijuana-strain-review-and-pictures/

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was a likely estimate, approximately $20,000 profit.3 PSR ¶ 11.

          A month later, the two returned to California and sent back approximately 38 pounds,

which would have generated another $38,000 profit. PSR ¶ 16. The defendants were not caught

until February, 2014, when they sent their largest shipment of over 66 pounds, which would have

cost over $120,000 and likely would have generated over $60,000 profit. PSR ¶¶ 25, 28.

II.       ADVISORY SENTENCING GUIDELINES ANALYSIS

          The government adopts the Sentencing Guidelines analysis applied by the PSR.                 The

PSR found that KAZONIS was responsible for between 40 and 60 kilograms, which is base

offense level 18 and was consistent with the government’s representation at the change of plea

hearing.4 PSR ¶ 34.        KAZONIS receives a three level decrease for acceptance of

responsibility. PSR && 41-42, yielding a total offense level of 15.

          KAZONIS has no convictions and therefore no criminal history points.                PSR & 48.      At

total offense level 15 and CHC I, KAZONIS’s advisory GSR is 18 to 24 months.

III.      SECTION 3553(a) FACTORS

          The government requests a sentence of 18 months’ imprisonment, which is at the low end

of the advisory GSR, because of the size, complexity and profitability of the conspiracy;

KAZONIS’s LCN connections; and in order to instill a proper respect for the law and to deter

others.


3 The price for marijuana in Massachusetts in 2013 was approximately $300 per ounce and from $2,500 to $4,000 per
pound, depending on quality. See
http://www.boston.com/news/local/massachusetts/2014/06/27/state-police-are-badly-underestimating-the-price-their
-weed-stash/xYETbn8Ci7vJwrSj6LOrvM/story html;
http://www.golocalworcester.com/news/the-highest-marijuana-prices-in-new-england-by-state. This price is
consistent with current Massachusetts average prices of $283 to $339, depending on location and quality. See
http://www.priceofweed.com/prices/United-States/Massachusetts html. And as of January, 2014, Skywalker was
selling – legally – in Colorado for $50 for one eighth of an ounce, which converts to $6,400 per pound. See
http://www.thecannabist.co/2014/01/20/marijuana-review-skywalker-og-strain-theory/2971/.
4 The government also represented that it would request a sentence within the GSR, which it has done.

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        A.      The Nature of the Offense

                1. The Marijuana Conspiracy Was Serious.

        California and Massachusetts now permit the legal use of marijuana for medicinal

purposes and Massachusetts has decriminalized the possession of small quantities (i.e. one ounce

or less) of marijuana; of course, marijuana remains completely illegal under federal law and

distributing any amount of marijuana outside of an authorized medicinal route remains illegal in

Massachusetts.     California and Massachusetts have tight regulatory systems for a reason: to

protect the public.    The fact that these regulatory schemes exist does not make the defendants

less culpable; in fact, the defendants subverted every regulation and defied the purposes behind

them by making marijuana available to anyone and at any time.

        Marijuana remains a serious and potent drug and unregulated sale is permitted nowhere,

especially not in Massachusetts.       Yet the defendants here were selling vast quantities outside

the legal apparatus, where the drug could come into any hands, including those of children.

That is the most troubling aspect of the defendants’ crime: that at least some of the 60 pounds of

illegal marijuana that defendants set loose into the Massachusetts economy likely found its way

to children.5   While the population continues to debate the merits of marijuana use for adults,

the political and scientific conclusion is that its use by teenagers and children is harmful, because

marijuana like Skywalker is stronger than it was and because the adolescent brain is not fully

formed until age 25 and therefore more vulnerable.6          The dangers of smoking marijuana as an

adolescent include: impaired memory and decreased concentration; decreased IQ of 4 to 6 points,

on average; poor educational outcomes; increased anxiety and depression; and more. Id.

5 In fact, KAZONIS’s phone was in contact with a sophomore at a Rhode Island college, whom the government
declines to identify, who admitted that he purchased marijuana from KAZONIS.
6 See Jankelson, Julie and Moffatt, Erica, “Marijuana Use among Teens: What they – and their parents—should
know,” Harvard Vanguard 2015, attached as Exhibit B.

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Moreover, these increased risks come as teens increasingly view the drug as not harmful.            Id.

At the same time, manufacturers increasingly market the drug to teens and children, as witnessed

by names like “Skywalker.”      A sentence of incarceration is necessary here to send the strong

message that illegal sales, especially illegal sales to young people, will not be permitted.

                2.      The Conspiracy Was Sophisticated and Organized.

        As described above, the criminal activity here was sophisticated and well planned.

These facts are significant in two respects.    First, they demonstrate that this crime did not result

from mistake or an error in judgment: the defendant knew what he was doing because he did it

carefully and repeatedly over a period of months.       Second, the level of complexity here

demonstrates a greater dangerousness.

        This organized criminal activity is, not surprisingly, typical of organized crime.         The

fact that KAZONIS is an associate of the NELCN and conspirator with DiNunzio, a member of

the NELCN, makes this crime more dangerous and more deserving of punishment.               Organized

crime, like the LCN, by its very nature is more dangerous “because leaders or individuals with

the ability to direct the criminal activity of others pose a special threat to the safety of the

community.” United States v. Digiacomo, 746 F. Supp. 1176, 1182 (D. Mass. 1990) (citing

cases). This greater dangerousness calls for a serious sentence of imprisonment.


        B.      Characteristics of the Defendant


        KAZONIS, to his credit, has no prior convictions. PSR ¶ 47. KAZONIS, at 30 years old,

also has little else to show for himself. Despite a secure home, supportive family, good health and

a high school education, KAZONIS has little work history prior to his indictment here, which

prompted him to begin working for Uber. PSR ¶¶ 53-72.


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       Despite his lack of a criminal record, KAZONIS’s associations are criminal in nature. His

life-long friend is the co-defendant, Louis DiNunzio, a member of the NELCN, and was present at

Louis DiNunzio’s illegal gambling location. PSR ¶ 59. His mother’s longtime fiancé is Carmen

DiNunzio, the former boss of the NELCN until he went to federal prison for bribery. PSR ¶ 56;

Cr. No. 08-10094-WGY-1 (D. Mass.). And Louis DiNunzio’s father is Anthony DiNunzio, who

became acting boss of the NELCN when his brother Carmen went to prison and went to federal

prison himself for RICO conspiracy. Cr. No. 11-00004-S-PAS-9 (D.R.I.). In 2011, he spent two

months in custody for civil contempt because he refused to testify before a grand jury in Suffolk

Superior Court. PSR ¶ 51. In fact, KAZONIS’s only regular employment before this case was

working at his stepfather’s cheese shop in the North End—a location that was bugged by the FBI

as part of its investigation of Carmen DiNunzio’s activities as the boss of the NELCN. PSR ¶ 72.


       C.      Respect for the Law and General Deterrence

       A sentence of imprisonment is necessary to convince the defendant of the unlawfulness of

his actions and promote respect for the law. Moreover, there must be some consequence to

defendant for engaging in drug dealing and subverting the regulatory scheme enacted by the

Commonwealth. Straight probation leaves little disincentive for the defendant’s criminal

behavior.

       There is a broader issue of general deterrence here in two respects. First, the federal

government retains an interest in criminal enforcement of the marijuana laws and in supporting the

several states’ regulatory scheme. A term of imprisonment is necessary to send the message that

marijuana remains illegal and cannot be trafficked, especially in violation of state law and

especially to young people. Second, a strong term of imprisonment is necessary to deter those



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involved in or hoping to become a part of the LCN. For many years, the government has

dedicated investigatory and prosecutorial resources to eradicating the LCN. Despite this effort,

the LCN persists and continues to threaten the community. In many ways, driven by a

never-ending proliferation of television programs, movies, and novels, the allure of the LCN is

stronger than ever. A sentence within the guideline range, as requested in this case, will send a

strong message that involvement in the LCN leads not to a life of glory and riches as portrayed on

television but to prison.

IV.     COMPARISON TO OTHER DEFENDANTS

        While every defendant is sentenced independently for his own case, the government’s

recommendation is consistent with its anticipated recommendations in this and related cases.

The government anticipates that it will recommend a sentence of 21 months for co-defendant

Louis DiNunzio, who was a member of the NELCN and therefore more serious than KAZONIS

in this criminal activity, and 18 months for co-defendant John Woodman, whose role in this case

was less serious (although not worthy of a role reduction) but has a greater criminal history.7

In addition, this case arose from the same NELCN investigation that also gave rise to an

extortion case against two longtime NELCN members, also before this session of the Court:

United States v. Anthony Spagnolo and Pryce Quintina, Cr. No. 14-10282-PBS.                   In that case,

the defendants recently pled guilty pursuant to non-binding plea agreements in which the

government agrees to recommend sentences of 21 and 18 months, respectively.                  In the

government’s view, while it is difficult to compare cases involving different crimes and different

defendants, the defendants group at roughly the same level, and the government has made its

recommendation accordingly.

7 The fourth defendant, Robert Fitzpatrick, is not comparable because he entered the Court’s RISE program. His
sentencing has been continued so that he may complete the program.

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V.     THE GOVERNMENT=S RECOMMENDATION

       For the reasons stated above, and pursuant to 18 U.S.C. §3553(a), the government

requests that the Court impose the following sentence:

       $       a sentence of imprisonment for a term of 18 months;

       $       no fine;

       $       supervised release for a term of 36 months;

       $       a $100 special assessment; and

       $       the proposed order of forfeiture (money judgment) [dkt. no.183-1], filed on
               January 11, 2016, and preliminary order of forfeiture [dkt. no. 166-1], entered by
               the Court on November 10, 2015.

                                             Respectfully submitted,

                                             CARMEN M. ORTIZ
                                             UNITED STATES ATTORNEY

                                             By: s/ Timothy E. Moran
                                             TIMOTHY E. MORAN
                                             SETH B. KOSTO
                                             Assistant U.S. Attorneys



                                CERTIFICATE OF SERVICE

       I, Timothy E. Moran, Assistant U.S. Attorney, certify that I caused a copy of the
foregoing sentencing memorandum to be served by email to defense counsel.

                                             s/ Timothy E. Moran
                                             TIMOTHY E. MORAN
                                             Assistant U.S. Attorney

Dated: January 12, 2015




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